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 5    Attorney for Secured Creditor
      SUNBELT RENTALS, INC.
 6
 7
                                UNITED STATES BANKRUPTCY COURT
 8
 9                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
      In re:                                             CASE NO.: 21-03654-CL11
11
      POWAY PROPERTY, LP,                                NOTICE OF PERFECTION,
12                                                       CONTINUANCE AND MAINTENANCE
                         Debtor                          OF MECHANIC’S LIEN RIGHTS BY
13                                                       SUNBELT RENTALS, INC., PURSUANT
                                                         TO 11 U.S.C. §§ 362(B) AND 546(B)
14
15                                                       Dept.: 5 – Room 318
                                                         Judge: Hon. Christopher B. Latham
16
17
            PLEASE TAKE NOTICE that pursuant to 11 U.S.C. §§ 362(b)(3) and 546(b)(2),
18
     SUNBELT RENTALS, INC. (“Sunbelt”) by and through its undersigned counsel, files this
19
     Notice of Perfection, Continuance and Maintenance of Mechanic’s Lien Rights (“Notice of
20
     Perfection”), and in support thereof states as follows:
21
            1.      Sunbelt is a North Carolina corporation duly authorized to conduct business in
22
     the State of California. Sunbelt provided certain rental equipment and/or materials which is the
23
     subject of this Notice of Perfection.
24
            2.      POWAY PROPERTY, LP (“Poway” or “Debtor”) is the Debtor and Debtor in
25
     Possession in the above captioned Chapter 11 bankruptcy proceeding filed on September 13,
26
     2021 (the “Bankruptcy”).
27
            3.      Sunbelt did not receive timely notice of the Bankruptcy.
28

             NOTICE OF PERFECTION, CONTINUANCE AND MAINTENANCE OF MECHANIC’S LIEN
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 1
            4.     Pursuant to a written contract dated about March 30, 2009, including all other
 2
     documents incorporated by and made a part thereof (the “Contract”), Sunbelt provided c ertain
 3
     rental equipment and/or materials that were used for commercial purposes and/or to improve
 4
     property commonly known as the “OUTPOST” project (the “Project”), on real property located
 5
     at 13247 Poway Road, Poway, California 92064 (APN: 317-473-20-00) (the “Property”).
 6
            5.     Pursuant to Article XIV, Section 3 of the California Constitution, and California
 7
     Civil Code Section 8160 et seq., (collectively, the “California Mechanic’s Lien Law”), Sunbelt
 8
     has an allowed secured claim against the Debtor for the unpaid amount incurred for the rental
 9
     equipment and/or materials provided to the Project under the Contract in the sum of in excess of
10
     $45,034.86 (the “Current Lien Amount”).
11
            6.     Sunbelt did property and timely serve, file and record its Mechanic’s Lien (Claim
12
     of Lien) for the Current Lien Amount under the California Mechanic’s Law (the “Mechanic’s
13
     Lien”), which was recorded as Document No. 2021-0598963 of the official records of San Diego
14
     County, California, on August 23, 2021. A true and correct copy of the Mechanic’s Lien is
15
     attached hereto as Exhibit “A”.
16
            7.     Debtor is the owner or reputed owner of the Property upon which the Mechanic’s
17
     Lien is recorded.
18
            8.     On November 1, 2021, Sunbelt further perfected its Mechanic’s Lien on the
19
     Property for the Current Lien Amount due and owing by Debtor under the Contract, by properly
20
     and timely filing its Complaint for (1) Breach of Contract; (2) Promissory Estoppel; (3) Quasi-
21
     Contract; (4) Foreclosure of Mechanic’s Lien; (5) Open Book Account; (6) Unjust Enrichment;
22
     and (7) Unfair Business Practices in the Superior Court of the State of California, County of San
23
     Diego, Case No. 37-2021-00046435 (the “State Court Action”).
24
            9.     As a result of the filing of the Bankruptcy, the State Court Action is currently
25
     subject to the automatic stay provisions of 11 U.S.C. § 362(a)(1).
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 1
            10.     Sunbelt therefore files this Notice of Perfection pursuant to 11 U.S.C §§ 362(b)(3)
 2
     and 546(b)(2) to further perfect, to the extent necessary, its interest in the Property and
 3
     improvements thereto and to provide notice of such interest for the Current Lien Amount.
 4
            11.     Sunbelt further gives notice that it intends to enforce the Mechanic’s Lien in the
 5
     State Court Action and/or Bankruptcy to the fullest extent allowed by the California Mechanic’s
 6
     Lien Law and applicable California state law, and Title 11 of the United States Code.
 7
 8
      Dated:         November 11, 2021               By: /s/ Cole S. Cannon
 9                                                      Cole S. Cannon
                                                        Attorney for Secured Creditor Sunbelt
10                                                      Rentals, Inc.
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 1
                                          PROOF OF SERVICE
 2
            I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
 3
     United States Bankruptcy Court for the Southern District of California by using CM/ECF system
 4
     on November 11, 2021. I further certify that all participants in the case are registered CM/ECF
 5
     users and that service will be accomplished by the CM/ECF system.
 6
            I declare under penalty of perjury under the laws of the State of California that the above is
 7
     true and correct.
 8
            DATED November 11, 2021, at Salt Lake City, Utah.
 9
10
            /s/ Nathan Bramhall
11             Nathan Bramhall
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                                      Exhibit A
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